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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA


 Clark, et al.,

                         Plaintiffs,
 v.
                                                        Civil Action: 20-cv-308-SDD-RLB
 Edwards, et al.,

                         Defendants,

                  c/w
 Power Coalition for Equity and Justice, et al.,

                         Plaintiffs,
 v.
                                                        Civil Action: 20-cv-283-SDD-RLB
 John Bel Edwards, the Governor of the State
 of Louisiana, in his Official Capacity, et al.,

                         Defendants


      MEMORANDUM IN REPLY ON BEHALF OF THE REGISTRARS OF VOTERS

MAY IT PLEASE THE COURT:

        The plaintiffs’ opposition to the Registrars motion to dismiss on jurisdictional grounds

actually supports the Registrars’ arguments that plaintiffs’ grievances trace, not to the registrars,

but to other governmental entities – the registrars did not establish the alleged offending election

procedures – the registrars are powerless to change them. Moreover, state law makes it abundantly

clear that the Parish Board of Election Supervisors, not the registrars, enforce the provisions

relating to absentee ballots. If the Parish Boards are not required for the litigation, as the plaintiffs

argue, the registrars are even further removed and should inarguably be dismissed for the litigation.




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                                                  ARGUMENT

         A. Plaintiffs Correctly Argue That Their Grievances Arise From State Law and
         Emergency Election Plan and That Local Election Officials Are Powerless to
         Establish or Modify Legal Requirements

         In arguing against the necessity of joining the Parish Board of Election Supervisors in their

opposition memorandum, the plaintiffs argue:

         As an initial matter, state law, not the Parish Boards, establishes the Excuse
         Requirements, the Witness Requirements, and the rules regarding notice to voters
         if their ballots are rejected. With respect to the Excuse Requirement, the categories
         that establish who is entitled to vote absentee are initially set by statute and can be
         modified by the named Defendants1 without any involvement by the Parish
         Boards.2

         Again arguing against the joinder of Parish Boards, plaintiffs assure the court, “They have no

authority to set aside the rules governing absentee voting established by the State Defendants.”                     3



Plaintiffs go on:

         The State’s statement that Parish Boards are responsible for ‘determining who is
         eligible to vote by absentee ballot,’ Mot. at 17, is wrong. As previously explained,
         that authority is vested in the state Legislature, the Secretary of State, and the
         Governor see, e.g., La. Rev. Stat. § 18:1303.4

Plaintiffs elaborate the Parish Board’s lack of involvement in the absentee ballot process:

         Finally, it bears emphasis that the Parish Boards have no role in determining
         whether, when, and how Louisiana’s election code may be modified. Indeed,
         the State Defendants in no way consulted or involved the Parish Boards in the
         creation or approval of the Emergency Plan, which demonstrates yet again that
         Parish Boards have no role related to the modification Louisiana’s election code.5




1
  If by “named Defendants” the plaintiffs mean to target the Registrars with their shotgun blast, they miss their mark
because the Registrars are unable to set or modify state statutes; to the contrary, they are bound to follow such laws
as ministerial officers. La. R.S. 18:66.
2
  Doc. 36, Memo. p. 16.
3
  Id. at p. 19.
4
  Id. at p. 19, emphasis supplied.
5
  Id. at p. 20,emphasis supplied.

                                                          2
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         Plaintiffs continue in the same vein in attempting to distinguish the Jacobson6 case by

denying that the Parish Boards have sufficient involvement in the election process to include them

in the litigation:

         Jacobson is distinguishable from this case. As described in Section I.C. above, the
         Parish Boards play no role in the establishment or modification of Louisiana’s
         election laws, including the Excuse Requirement, Witness Requirement, and Cure
         Prohibition, which Plaintiffs are challenging as insufficient. Even as modified by
         the emergency plan, these laws were created and passed with the sole
         involvement of the Governor, the Secretary of State, and the Legislature.7

         The plaintiffs embrace the very arguments that the Registrars advance with regard to the

traceability component of standing. The Registrars did not establish the requirements that the plaintiffs

complain of with respect to absentee ballots, witness requirements, or period for early voting. Nor can

they modify, change, or exercise discretion with respect to such requirements. The plaintiffs, as they

argue in their opposition memorandum, cannot trace their grievances to local officials, especially and

particularly to the four Registrars they sued in this case.

         Plaintiffs cannot have it both ways. Either the Parish Boards, because of their statutory role in

the election process, must be added as parties, or the claims against the Registrars must be dismissed

for lack of standing.

         The four Registrars named as defendants cannot redress the plaintiffs’ complaints

concerning the election process. At the risk of unnecessary repetition, the Registrars have no role

in setting the terms of the election that offend these plaintiffs. They cannot change those terms.

They cannot exercise discretion with respect to those statutes. The plaintiffs do not disagree with

the limitations on their role and function as local officials with a ministerial duty. Standing requires

traceability and redressability for their claims, and both elements are lacking here. 8


6
  Jacobson v. Florida Sec'y of State, 957 F.3d 1193 (11th Cir. 2020).
7
  Doc. 36, Memo, at p. 21, emphasis supplied.
8
  Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992).

                                                          3
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           C. The Plaintiffs Cannot Avoid Naming the Parish Board Under Rule 19

           Even though plaintiffs argue that Parish Boards have no involvement in determining the

validity of absentee ballots, their allegations in the Power Coalition Complaint say otherwise. The

Power Coalition Complaint belies their arguments in the opposition memorandum.9 In the

Complaint, the plaintiffs detail the Parish Board’s authority and discretion in rejecting absentee

ballots for cause. The allegations of the Complaint are right. Plaintiffs’ subsequent efforts to

marginalize the Parish Boards to avoid their joinder misstates the law.

           The Parish Board of Election Supervisors takes possession of the ballots on election day to

tabulate and count the absentee by mail ballots in accordance with La. R.S. 18:1313. It is the Parish

Board of Election Supervisors, not the Registrars, that examines the ballots and ballot envelopes

and determines whether or not the ballot is valid and should be counted.10 The plaintiffs suggest

otherwise in their memorandum in opposition, but the statute is clear.

                   D. The Parish Boards Are Not So Readily Joined As the Plaintiffs Claim

           Plaintiffs attached the draft of an Amended Complaint presumably to demonstrate to the

court that the Parish Boards can be easily brought into the suit if the court finds their joinder

required under Rule 19. However, the Amended Complaint does not properly name the Parish

Boards, and the plaintiffs are incorrect in assuming that the Parish Boards can be served through

the Attorney General under Rule 4. The Attorney General is not agent for service. He is statutory

counsel for the Parish Boards but may designate the district attorney for the parish as attorney for

the Boards or allow the Parish Board to retain private counsel.




9
    Doc. 1, CA No. 20-cv-00283, ⁋⁋ 74-76.
10
    La. R.S. 18:1313(F).

                                                    4
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                                         CONCLUSION

       Plaintiffs do not argue in their opposition that the Registrars should remain in the suit. They

argue vigorously that the Parish Boards should not be in the suit, but their arguments in that regard

support a finding that the plaintiffs lack standing to sue the Registrars. The plaintiffs have no

standing with respect to their claims against the Registrars.

                                              Respectfully submitted,

                                              JEFF LANDRY
                                              ATTORNEY GENERAL

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                                 CERTIFICATE OF SERVICE

      I do hereby certify that, on this 12th day of June, 2020 the foregoing pleading was filed
 electronically with the Clerk of Court using the CM/ECF system which gives notice of filing to
                                         all counsel of record.

                                         /s/ Carey T. Jones
                                           Carey T. Jones


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